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                                                                           FILED
                         UNITED STATES COURT OF APPEALS                     OCT 16 2018

                                                                        MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                     U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                        No.   18-30131

                 Plaintiff-Appellee,              D.C. No.
                                                  3:13-cr-00097-SLG-1
 v.                                               District of Alaska,
                                                  Anchorage
 JASON JAYAVARMAN,

                 Defendant-Appellant.             ORDER


Before: Peter L. Shaw, Appellate Commissioner.

        Appellant Jason Jayavarman’s retained counsel, Philip Paul Weidner, Esq.,

filed a motion to withdraw as counsel on appeal and to permit Jayavarman to

represent himself (Docket Entry No. 3). Appellant Jayavarman also submitted a

pro se request to represent himself on appeal (Docket Entry No. 4). The motion

and request were referred to the Appellate Commissioner pursuant to Ninth Circuit

General Order 6.3(e).

        On October 16, 2018, the Appellate Commissioner conducted a hearing to

address Jayavarman’s request for self-representation and waiver of the right to

counsel. See Hendricks v. Zenon, 993 F.2d 664, 669 (9th Cir. 1993). Jayavarman

appeared at the hearing by videoconference, and Assistant United States Attorney

gml/Appellate Commissioner                                                       18-30131




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Andrea Whittier Hattan and counsel Weidner appeared telephonically. A Khmer

interpreter was also present and available in San Francisco.

         The Appellate Commissioner informed Jayavarman at the hearing of the

likely scope of this appeal and the remedies available for the issues that

Jayavarman wished to present to this court. Jayavarman confirmed that he

understood and requested that the court dismiss his appeal. Jayavarman stated that

he understood that, if he dismissed his appeal, he would not be able to attack by

direct appeal the sentence imposed by the district court.

         Counsel Weidner’s motion to withdraw as counsel is granted.

         Appellant Jayavarman’s oral motion for voluntary dismissal of this appeal is

granted. Appellant’s request to represent himself in this appeal is denied as moot.

This appeal is dismissed. See Fed. R. App. P. 42(b).

         The Clerk shall serve this order on appellant individually: Jason

Jayavarman, BOP Reg. No. 17064-006, FCI Terminal Island, Federal Correctional

Institution, P.O. Box 3007, San Pedro, CA 90733.

         This order served on the district court shall act as and for the mandate of this

court.




gml/Appellate Commissioner                   2                                    18-30131




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